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  In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 21-1454V
                                        UNPUBLISHED


 GARY KOELDER,                                              Chief Special Master Corcoran

                        Petitioner,                         Filed: May 23, 2022
 v.
                                                            Special Processing Unit (SPU);
 SECRETARY OF HEALTH AND                                    Ruling on Entitlement; Concession;
 HUMAN SERVICES,                                            Table Injury; Influenza (Flu) Vaccine;
                                                            Guillain-Barre Syndrome (GBS)
                       Respondent.


Jessi Carin Huff, Maglio, Christopher & Toale, Seattle, WA, for Petitioner.

Matthew Murphy, U.S. Department of Justice, Washington, DC, for Respondent.

                                   RULING ON ENTITLEMENT 1

        On June 9, 2021, Gary Koelder filed a petition for compensation under the National
Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq. 2 (the “Vaccine
Act”). Petitioner alleges that he suffered from Guillain-Barre Syndrome (“GBS”) as a result
of an influenza vaccine he received on December 9, 2019. Petition at ¶¶ 2, 4, 18.
Petitioner further alleges that his vaccine injury has lasted more than six months. Petition
at ¶12. The case was assigned to the Special Processing Unit of the Office of Special
Masters.

       On May 19, 2022, Respondent filed his Rule 4(c) report in which he concedes that
Petitioner is entitled to compensation in this case. Respondent’s Rule 4(c) Report at 1.
Specifically, Respondent states that “it is Respondent’s position that Petitioner suffered

1 Because this unpublished Ruling contains a reasoned explanation for the action in this case, I am required

to post it on the United States Court of Federal Claims' website in accordance with the E-Government Act
of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic Government
Services). This means the Ruling will be available to anyone with access to the internet. In accordance
with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact medical or other information,
the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, I agree that
the identified material fits within this definition, I will redact such material from public access.

2 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease

of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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from GBS, and that he has satisfied the criteria set forth in the Vaccine Injury Table
(“Table”) and the Qualifications and Aids to Interpretation (“QAI”) which afford him a
presumption of vaccine causation if the onset of GBS occurs between three and forty-two
days after a seasonal flu vaccine and there is no more likely alternative diagnosis and no
apparent alternative cause. Id. at 10. Respondent further agrees that “the medical records
demonstrate that Petitioner has experienced the residual effects of his GBS for more than
six months.” Id.

       In view of Respondent’s position and the evidence of record, I find that
Petitioner is entitled to compensation.

      IT IS SO ORDERED.

                                                       s/Brian H. Corcoran
                                                       Brian H. Corcoran
                                                       Chief Special Master




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